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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
  Civil Action No. ___________

  ESTATE OF ZACKARY MOFFITT, by and through its personal representative KELLY
  KRAMER;
  M.M., a minor, by and through her next friend and mother, CASSANDRA HIGGINS;
  C.M., a minor, by and through her next friend and mother, CASSANDRA HIGGINS;

         Plaintiffs,
  v.

  SHERIFF JOHN MINOR, in his official and individual capacities;
  CAPTAIN ERIK J. BOURGERIE, in his individual capacity;
  STAFF SERGEANT CHERYL GIORDANO, in her individual capacity;
  DEPUTY JONATHON DIURBA, in his individual capacity;
  DEPUTY NATHAN FIDLER, in his individual capacity;
  DEPUTY RYAN HOSIER, in his individual capacity;
  DEPUTY BRIAN HYDE, in his individual capacity;
  DEPUTY KATHY LAMBERT, in her individual capacity; and
  DEPUTY JEFF WILSON, in his individual capacity;

         Defendants.




                             COMPLAINT AND JURY DEMAND




         Plaintiffs, by and through their attorneys, David A. Lane and Nicole B. Godfrey of

  KILLMER, LANE & NEWMAN, LLP, hereby brings this Complaint and Jury Demand and alleges as

  follows:
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                                          INTRODUCTION

         On July 6, 2013, Zackary Moffitt was being treated at the Summit County Medical

  Center in Breckenridge, Colorado for acute alcohol poisoning. Mr. Moffitt, a severe alcoholic,

  was checked into the hospital by his significant-other, Kelly Kramer, with a blood alcohol level

  of .392, which could easily kill a person who was not an alcoholic. Mr. Moffitt irrationally

  decided that he had had enough of the hospital so he unplugged his own IV, got dressed and was

  leaving the hospital. A security guard, fearful for Mr. Moffitt’s safety, called law enforcement

  who responded quickly. On that morning, thirty-three year old Zackary Moffitt was arrested

  outside the St. Anthony Summit Medical Center for violating a restraining order prohibiting him

  from consuming alcohol. When Defendant Jeff Wilson arrested Mr. Moffitt, he had a blood

  alcohol level of .394, indicating acute intoxication. Defendant Wilson nevertheless booked Mr.

  Moffitt into the Summit County Jail where, over the next several days, Mr. Moffitt began to

  exhibit classic and severe symptoms of delirium tremens caused by alcohol withdrawal. Left

  untreated, delirium tremens is frequently fatal; however, if appropriately identified, delirium

  tremens can be treated with benzodiazepines or other similar medications and survival is almost

  assured.

         From July 6 through 9, 2013, while detained at the Summit County Jail, Mr. Moffitt’s

  symptoms included hallucinations, altered thoughts and behavior, seizures, and suicidal

  ideations. As Mr. Moffitt’s symptoms began to intensify, Defendants, all employees of the

  Summit County Sheriff’s Department, watched as Mr. Moffitt became increasingly delirious, yet

  did nothing to provide Mr. Moffitt with the medical attention he so desperately needed.

  Eventually, on July 9, 2013, after suffering for three-days in plain view of his jailers, Mr. Moffitt


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  suffered a cardiac arrest in a holding cell of the jail. Mr. Moffitt never recovered, and, after being

  placed on life support for four days, died on July 13, 2013. If any of the Defendants had initiated

  an appropriate medical intervention on behalf of Mr. Moffitt, he would be alive today.

  Defendants’ willful and deliberate indifference to Mr. Moffitt’s serious medical needs directly

  led to his untimely, easily preventable, and unjustifiable death.

                                    JURISDICTION AND VENUE
          1.      This action arises under the Constitution and laws of the United States and is

  brought pursuant to 42 U.S.C. § 1983.

          2.      Jurisdiction is conferred on this Court pursuant to 28 U.S.C. §§ 1331 and 1367.

  Jurisdiction supporting Plaintiffs’ claim for attorneys’ fees and costs is conferred by 42 U.S.C. §

  1988.

          3.      Venue is proper in the District of Colorado pursuant to 28 U.S.C. § 1391(b). All

  of the events alleged herein occurred within the State of Colorado, and all of the parties were

  residents of the State at the time of the events giving rise to this litigation.


                                                PARTIES

  Plaintiffs:


          4.      At all times pertinent hereto, the decedent, Zackary Moffitt, was a citizen of the

  United States of America and a resident of the State of Colorado confined to the Summit County

  Jail.

          5.      At all times pertinent hereto, Kelly Kramer, personal representative to the Estate

  of Zackary Moffitt, has been a citizen of the United States of America and a resident of the State

  of Colorado.

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         6.      At all times pertinent hereto, Plaintiffs M.M. and C.M., children of Zackary

  Moffitt, represented here by their mother and next friend, Cassandra Higgins, have been citizens

  of the United States of America and residents of the State of Colorado.


  Defendants:


         7.      At all times relevant to the subject matter of this litigation, Defendant John Minor

  was a citizen of the United States and a resident of Colorado. At all relevant times, Defendant

  Minor was acting under color of state law in his capacity as the Summit County Sheriff.

  Defendant Minor was responsible for training and supervising all other Defendants and other

  employees of the Summit County Sheriff’s Department working at the jail, for setting jail policy

  for the county and the overall management of the jail, and for insuring the health and welfare of

  all persons detained in the Summit County Jail.

         8.      At all times relevant to the subject matter of this litigation, Defendant Erik J.

  Bourgerie was a citizen of the United States and a resident of Colorado. At all relevant times,

  Defendant Bourgerie was acting under color of state law in his capacity as a Captain employed

  by the Summit County Sheriff’s Office.

         9.      At all times relevant to the subject matter of this litigation, Defendant Cheryl

  Giordano was a citizen of the United States and a resident of Colorado. At all relevant times,

  Defendant Giordano was acting under color of state law in her capacity as a Staff Sergeant

  employed by the Summit County Sheriff’s Office.

         10.     At all times relevant to the subject matter of this litigation, Defendant Jonathon

  Diurba was a citizen of the United States and a resident of Colorado. At all relevant times,



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  Defendant Diurba was acting under color of state law in his capacity as a Deputy employed by

  the Summit County Sheriff’s Office.

         11.     At all times relevant to the subject matter of this litigation, Defendant Nathan

  Fidler was a citizen of the United States and a resident of Colorado. At all relevant times,

  Defendant Fidler was acting under color of state law in his capacity as a Deputy employed by the

  Summit County Sheriff’s Office.

         12.     At all times relevant to the subject matter of this litigation, Defendant Ryan

  Hosier was a citizen of the United States and a resident of Colorado. At all relevant times,

  Defendant Hosier was acting under color of state law in his capacity as a Deputy employed by

  the Summit County Sheriff’s Office.

         13.     At all times relevant to the subject matter of this litigation, Defendant Brian Hyde

  was a citizen of the United States and a resident of Colorado. At all relevant times, Defendant

  Hyde was acting under color of state law in his capacity as a Deputy employed by the Summit

  County Sheriff’s Office.

         14.     At all times relevant to the subject matter of this litigation, Defendant Kathy

  Lambert was a citizen of the United States and a resident of Colorado. At all relevant times,

  Defendant Lambert was acting under color of state law in her capacity as a Deputy employed by

  the Summit County Sheriff’s Office.

         15.     At all times relevant to the subject matter of this litigation, Defendant Jeff Wilson

  was a citizen of the United States and a resident of Colorado. At all relevant times, Defendant

  Wilson was acting under color of state law in his capacity as a Deputy employed by the Summit

  County Sheriff’s Office.


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                                       FACTUAL ALLEGATIONS


  St. Anthony Summit Medical Center


         16.      On July 6, 2013, Kelly Kramer took 33-year-old Zachary Moffitt, who was highly

  intoxicated, to the St. Anthony Summit Medical Center (“SMC”) at 340 Peak Drive, in

  unincorporated Summit County.

         17.      When Mr. Moffitt arrived at SMC at approximately 8:32 a.m. on the morning of

  July 6, he complained of “alcohol intoxication, vomiting blood, coughing blood, bloody stool,

  kidneys hurt, [and] liver hurts.” Mr. Moffitt requested that the SMC emergency room physician,

  Marc A. Doucette, M.D., ensure that he did “not have a bloodstream infection.”

         18.      Dr. Doucette ordered a number of tests be performed on Mr. Moffitt, including

  blood work to determine his blood alcohol content (“BAC”). On the morning of July 6, 2013,

  Mr. Moffitt had a BAC over .392, which meant he was “acutely intoxicated.”

         19.      To the non-alcoholic, a BAC of over .392 would lead to unconsciousness at the

  very least and possibly death. The fact that Mr. Moffitt remained conscious indicated that he

  suffered from acute alcoholism.

         20.      The SMC medical personnel treated Mr. Moffitt with intravenous (“IV”) fluids

  and vitamins.

         21.      Rather than complete his treatment, however, Mr. Moffitt decided to leave the

  SMC – he pulled out his own IV, dressed, and left the SMC’s emergency department.




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           22.   Mr. Moffitt’s ability to walk, talk, and self-ambulate with a BAC of over .392

  indicated a severe alcohol tolerance and a history of regular alcohol consumption to the SMC

  medical personnel. Mr. Moffitt confirmed these conclusions during the SMC intake process.

           23.   During the SMC intake process, Mr. Moffitt reported drinking two pints of

  alcohol the preceding day and one pint the morning of his visit to SMC.

           24.   When Mr. Moffitt left the SMC emergency department, he sat in front of the SMC

  building.

           25.   After Mr. Moffitt left the SMC emergency department, SMC Security Officer

  Andrew Brown called the Summit County Sheriff’s Office to report that, after being admitted to

  SMC for intoxication, Mr. Moffitt pulled his IV out of his arm and walked out of the emergency

  room.

           26.   Defendant Jeff Wilson, a Summit County Sheriff’s Deputy, responded to SMC

  Security Officer Brown’s report. Defendant Wilson ran Mr. Moffitt’s name through the

  CCIC/NCIC database and discovered that Mr. Moffitt had a warrant out of Lake County,

  Colorado, for criminal mischief and a restraining order out of Lake County, Colorado, which

  prohibited Mr. Moffitt’s consumption of alcoholic beverages.

           27.   Defendant Wilson arrested Mr. Moffitt at approximately 11:07 a.m. on July 6,

  2013.

           28.   When arresting Mr. Moffitt, Defendant Wilson explicitly noted that Mr. Moffitt,

  “had the strong odor of alcohol on his breath, slurred speech[,] and was very unsteady on his

  feet.”




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         29.     SMC Security Officer Brown notified Defendant Wilson that Mr. Moffitt’s BAC

  was .392.

         30.     Despite Mr. Moffitt’s obvious intoxication and extraordinarily high BAC, Deputy

  Wilson did not take Mr. Moffitt back into the SMC emergency department for completion of his

  medical care. Instead, Deputy Wilson transported Mr. Moffitt to the Summit County Jail, where

  he would remain for the next several days.

         31.     Upon information and belief, when Deputy Wilson booked Mr. Moffitt into the

  Summit County Jail on July 6, 2013, he recorded Mr. Moffitt’s BAC in the jail’s records and

  informed officers of the jail of Mr. Moffitt’s extreme intoxication.

         32.     Upon information and belief, Deputy Wilson took no steps to ensure that Mr.

  Moffitt was provided the appropriate medical treatment after booking him into the jail.


  Mr. Moffitt’s Detention at the Summit County Jail


         33.     Over the next several days, as Mr. Moffitt sat detained in the Summit County Jail,

  he began to experience acute alcohol withdrawal, or delirium tremens (“DTs”).

         34.     DTs manifests itself in alcoholics who undergo unmonitored and untreated

  withdrawal. Symptoms of DTs include nightmares, global confusion, disorientation, fever, visual

  and auditory hallucinations, agitation, seizures, and actions of self-harm and fear. DTs can

  sometimes be associated with severe, uncontrollable tremors of the extremities and secondary

  symptoms, including anxiety, panic attacks, and paranoia. Mr. Moffitt would exhibit all of these

  symptoms over his three-day stay at the Summit County Jail.




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          35.     Despite his obvious medical distress, the staff at the Summit County Jail,

  Defendants in this action, failed to take any reasonable measures to treat Mr. Moffitt’s medical

  condition. This failure ultimately led to his death on July 13, 2013.

          36.     DTs due to alcohol withdrawal can be treated with benzodiazepines, although

  high doses may be necessary to prevent mortality.

          37.     Had Mr. Moffitt received medical care and treatment for his alcohol withdrawal,

  the full manifestation of his withdrawal symptoms may have been prevented or, at a minimum,

  ameliorated. The risk of death from untreated DTs is very significant and has been listed as

  approximately 37% in medical studies. In stark contrast, the mortality rate from DTs is greatly

  reduced to just 5% with care in a medical facility with specified treatment for acute alcohol

  withdrawal.

          38.     Upon information and belief, had Mr. Moffitt received appropriate medical

  attention from his jailers in July 2013, he would be alive today.

          39.     Over the course of Mr. Moffitt’s detention at the Summit County Jail, Defendants

  would observe numerous symptoms of alcohol withdrawal or DTs but would refuse, time and

  again, to initiate a medical intervention on behalf of Mr. Moffitt. This failure directly contributed

  to his death.


  July 7, 2013: Mr. Moffitt begins manifesting symptoms of delirium tremens.


          40.     On July 7, 2013, at approximately 11:30 a.m., roughly twenty-four hours after his

  arrival at the Summit County Jail, Mr. Moffitt began complaining of feeling sick to Defendant




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   Nathan Fidler, a Summit County Sheriff’s Deputy working in the control office of the Summit

   County Jail.

           41.    Defendant Fidler contacted Defendant Erik J. Bourgerie, a Captain at the Summit

   County Sheriff’s Office, to inform Defendant Bourgerie of Mr. Moffitt’s complaints.

           42.    Defendant Bourgerie instructed Defendant Fidler to send Mr. Moffitt to the

   Booking Desk of the jail so that Defendant Bourgerie could speak to him. Defendant Fidler told

   Defendant Bourgerie that Mr. Moffitt wanted to show Defendant Bourgerie something in his

   cell.

           43.    Defendant Bourgerie went to Mr. Moffitt’s cell, which he found to be “disheveled

   with the bunk being unmade,” and Defendant Bourgerie observed Mr. Moffitt “standing in his

   cell, appearing pale and slightly agitated.”

           44.    Mr. Moffitt told Defendant Bourgerie that “he had been throwing up a green fluid

   for the last two hours” and showed Defendant Bourgerie a towel “streaked with a green colored

   substance.” Defendant Bourgerie observed that “[t]he [green] substance appeared to be a liquid

   the towel had absorbed.”

           45.    Mr. Moffitt was distressed by the color of his vomit. Defendant Bourgerie

   casually dismissed Mr. Moffitt’s concern because Defendant Bourgerie “did not believe the

   human body exuded anything green and that it had to be something [Mr. Moffitt] had

   consumed.”

           46.    Defendant Bourgerie took no steps to make sure that Mr. Moffitt received prompt

   and adequate medical attention, despite Mr. Moffitt’s obvious medical distress.




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          47.     Instead, Defendant Bourgerie asked Mr. Moffitt “why he thought he was

   vomiting.” Mr. Moffitt informed Defendant Bourgerie that “he was detoxing.”

          48.     Defendant Bourgerie asked Mr. Moffitt “if he had a history of bad detox

   symptoms,” to which Mr. Moffitt responded that he did not and that “he would normally just

   stop drinking with no side effects.” Mr. Moffitt informed Defendant Bourgerie that he had no

   history of any seizures while detoxing in the past, that he had no history of hallucinations, and

   that this “was the worst detox he had experienced.”

          49.     Despite Mr. Moffitt’s clear indications that he needed medical attention,

   Defendant Bourgerie “did not see a reason for an Emergency Room visit,” and rather moved Mr.

   Moffitt to a holding cell, where he was placed on fifteen-minute watch.

          50.     At the end of Defendant Bourgerie’s shift, he “briefed” Defendant Jonathan

   Diurba, a Summit County Sheriff’s Office deputy, on Mr. Moffitt’s condition.

          51.     Upon information and belief, Defendant Diurba failed to take any steps to initiate

   a medical intervention on behalf of Mr. Moffitt.

          52.     Upon information and belief, had Defendant Bourgerie, Defendant Diurba, or

   Defendant Fidler taken any steps to initiate a medical intervention on behalf of Mr. Moffitt on

   July 7, 2013, Mr. Moffitt would be alive today.


   July 8, 2013: Mr. Moffitt’s alcohol withdrawal symptoms grow markedly worse.


          53.     Over the next twenty-four hours, Mr. Moffitt’s DTs’ symptoms would grow

   markedly worse.




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          54.     At approximately 5:00 p.m. on July 8, 2013, Mr. Moffitt again notified Defendant

   Fidler that he felt sick and believed he had a seizure.

          55.     Rather than initiate a medical intervention on behalf of Mr. Moffitt, Defendant

   Fidler contacted Defendant Cheryl Giordano, a Staff Sergeant with the Summit County Sheriff’s

   Office, as well as Defendants Kathy Lambert and Brian Hyde, both deputies with the Summit

   County Sheriff’s Office.

          56.     Defendant Hyde is a national and state-certified paramedic and has been since

   2010. Upon information and belief, Defendant Hyde has knowledge of the symptoms that

   accompany DTs and alcohol withdrawal.

          57.     Defendants Giordano, Lambert, and Hyde all went to Mr. Moffitt’s cell “to see

   what was going on” with him. When Defendants Giordano, Lambert, and Hyde arrived at the cell

   front, they observed Mr. Moffitt “pacing in his cell and seem[ing] ramped up and upset.”

          58.     Mr. Moffitt informed Defendants Giordano, Lambert, and Hyde “that he was

   watching TV when he started to feel strange, like he was spinning.”

          59.     Mr. Moffitt further informed Defendants Giordano, Lambert, and Hyde that “he

   felt dizzy, had a bad headache, [] had been throwing up, and [hadn’t] been able to sleep for the

   last couple of days.”

          60.     Defendants Giordano, Lambert, and Hyde escorted Mr. Moffitt up to the booking

   area of the jail, where Mr. Moffitt explained to the Defendants that he had never had a seizure

   before that day.

          61.     Mr. Moffitt also informed Defendants Giordano, Lambert, and Hyde that he had

   not had a bowel movement since his detention began on July 6, 2013.


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          62.     Defendant Hyde took Mr. Moffitt’s blood pressure and pulse. Defendant Hyde

   determined that Mr. Moffitt’s blood pressure and pulse were “a little high but within the normal

   ranges.”

          63.     Upon information and belief, Defendants Giordano, Lambert, and Hyde knew that

   Mr. Moffitt had entered the jail extremely intoxicated and knew that he had been vomiting green

   liquid the prior day.

          64.     Despite their knowledge that Mr. Moffitt had been exhibiting DTs’ symptoms for

   the past two days, Defendants Giordano, Lambert, and Hyde concluded that Mr. Moffitt was

   having a panic attack.

          65.     Defendant Giordano placed Mr. Moffitt in a holding cell for observation, but she

   took no steps to initiate a medical intervention on behalf of Mr. Moffitt.

          66.     Likewise, Defendants Lambert and Hyde took no steps to initiate a medical

   intervention on behalf of Mr. Moffitt.

          67.     Upon information and belief, had Defendant Fidler, Defendant Giordano,

   Defendant Lambert, or Defendant Hyde taken any steps to initiate a medical intervention on

   behalf of Mr. Moffitt on July 8, 2013, Mr. Moffitt would be alive today.


   July 9, 2013: Mr. Moffitt’s condition continues to deteriorate as he tells Defendants that he is
   experiencing suicidal thoughts, which is further symptomatic of delirium tremens.
          68.     Over the next twelve hours, Mr. Moffitt’s DTs’ symptoms continued to amplify.

          69.     On July 9, 2013, at approximately 1:00 a.m., Mr. Moffitt called into the control

   room to talk to Defendant Diurba, who was on duty in the control room of the jail.




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           70.    Defendant Diurba could not understand Mr. Moffitt, so he and Defendant Ryan

   Hosier, another deputy employed by the Summit County Sheriff’s Office, when to Mr. Moffitt’s

   cell.

           71.    When Defendants Diurba and Hosier arrived at Mr. Moffitt’s cell, Mr. Moffitt

   told them that he was hearing voices that were telling him to kill himself. Mr. Moffitt told

   Defendant Diurba and Hosier that the voices were coming from the vents and the intercom in his

   cell.

           72.    Specifically, Mr. Moffitt stated:

                     a. “The only way to heaven is to kill myself.”

                     b. “It will only take 5 minutes to kill myself.”

                     c. “Voices asked me what the most beautifully thing was I said my daughter

                           and the voices replied kill yourself.”

                     d. “I tried to kill myself three times with my hands.”

           73.    Defendant Diurba knew that Mr. Moffitt had been vomiting green liquid just three

   days prior to these suicidal ideations, yet he did nothing to ensure that Mr. Moffitt received a

   medical intervention.

           74.    Upon information and belief, Defendants Diurba and Hosier knew that Mr.

   Moffitt had been experiencing symptoms of alcohol withdrawal over the prior two days, yet

   neither Defendant Diurba nor Defendant Hosier took any steps to ensure that Mr. Moffitt

   received treatment for DTs.

           75.    Instead, Defendants Diurba and Hosier strip searched Mr. Moffitt, placed Mr.

   Moffitt in a suicide smock, and contacted Colorado West Mental Health.


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          76.     Upon information and belief, Colorado West Mental Health would only provide a

   mental health counselor to talk to Mr. Moffitt. Defendants Diurba and Hosier did not contact a

   medical provider who could provide Mr. Moffitt treatment for his alcohol withdrawal.

          77.     Defendants Diurba and Hosier placed Mr. Moffitt in a holding cell, where he

   continued to exhibit symptoms of DTs.

          78.     Throughout the early morning hours of July 9, 2013, other detainees in the jail

   reported that Mr. Moffitt appeared to be hallucinating and that Mr. Moffitt “believed that the

   [jail] staff and hospital staff were fighting and spilling human organs on the floor.”

          79.     Despite Mr. Moffitt’s apparent display of obvious auditory and visual

   hallucinations, none of the Defendants or other jail staff took steps to initiate an appropriate

   medical intervention on behalf of Mr. Moffitt to treat his DTs.

          80.     As a result, Mr. Moffitt’s condition continued to dramatically deteriorate.

          81.     By 6:00 a.m., when Defendants Lambert, Hyde, Giordano, and Fidler reported for

   duty, Mr. Moffitt had not been seen by anyone from Colorado West, and his medical condition

   continued to deteriorate.

          82.     At approximately 6:10 a.m., Defendant Hyde observed Mr. Moffitt sitting naked

   in the holding cell. Defendant Hyde told Mr. Moffitt to put his smock back on, but Defendant

   Hyde did nothing to initiate an appropriate medical intervention on behalf of Mr. Moffitt.

          83.     At approximately 6:20 a.m., Defendant Giordano also observed Mr. Moffitt

   sitting naked in the holding cell. Defendant Giordano reported that Mr. Moffitt “was sitting on

   the bench, right of the door, under the camera. [She] could see his feet, part of his head, and part




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   of his legs and arms.” Defendant Giordano did nothing to initiate an appropriate medical

   intervention on behalf of Mr. Moffitt.

          84.      At approximately 7:16 a.m., Defendant Giordano again checked on Mr. Moffitt in

   the holding cell. At this time, Mr. Moffitt was standing up in the cell and moved towards the

   door to talk to Defendant Giordano. Mr. Moffitt asked Defendant Giordano for the keys. When

   Defendant Giordano asked why Mr. Moffitt needed the keys, Mr. Moffitt replied, “To open the

   door, and go back to my cell, I’ve seen the doctor, and want to go back to my cell.” Defendant

   Giordano reported that Mr. Moffitt “kept sticking his tongue out while talking” during this

   conversation.

          85.      Defendant Giordano verified with Defendant Lambert that Mr. Moffitt had not yet

   seen any mental health professional from Colorado West. Despite Mr. Moffitt’s clear

   disorientation and hallucinations, Defendant Giordano did nothing to initiate a medical

   intervention on behalf of Mr. Moffitt.

          86.      Defendant Giordano informed Defendant Lambert of her observations of Mr.

   Moffitt, including his inability to control his tongue during their conversation and his obvious

   hallucination. Defendant Lambert did nothing to initiate a medical intervention on behalf of Mr.

   Moffitt.

          87.      At approximately 7:20 a.m., Defendant Lambert, who was working the booking

   desk of the jail, received a call from Defendant Fidler who had observed Mr. Moffitt lying on the

   floor, punching himself in the face, from the jail’s control room.

          88.      Despite observing Mr. Moffitt lying on the floor, punching himself in the face,

   and slamming the back of his head against the floor, Defendant Fidler took no steps to initiate a


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   medical intervention on behalf of Mr. Moffitt. From his post in the control room, Defendant

   Fidler had a bird’s eye view of Mr. Moffitt’s deterioration over the course of his three-day

   detention at the jail, yet he took no steps to ensure that Mr. Moffitt received the immediate

   medical attention he so desperately needed.

           89.        Defendant Lambert went to the holding cell where Mr. Moffitt was being

   detained. Once there, Defendant Lambert called Mr. Moffitt’s name several times. Defendant

   Lambert asked Mr. Moffitt why he hit himself.

           90.        After overhearing Defendant Lambert talking to Mr. Moffitt, Defendant Giordano

   requested that Defendant Hyde talk to Mr. Moffitt to inform Mr. Moffitt that he would be placed

   in the restraint chair to keep him from injuring himself.

           91.        Defendant Hyde went to the holding cell, where he observed Mr. Moffitt “lying

   on the floor on his back, breathing rapidly, naked with his hands clenched.”

           92.        Instead of recognizing that Mr. Moffitt needed immediate medical attention and

   taking steps to provide that attention, Defendant Hyde told Mr. Moffitt to stop punching himself

   in the face and warned Mr. Moffitt that he failed to do so, Mr. Moffitt would be placed in a

   restraint chair.

           93.        After Defendant Hyde said this to Mr. Moffitt, he began to punch himself in the

   face, throat, and jaw “several times while lying on the floor.”

           94.        Defendant Giordano followed Defendant Hyde to the holding cell. Once at the

   front of the holding cell, Defendant Giordano observed Defendant Moffitt lying naked on the

   floor, his neck red. Defendant Giordano reported that Mr. Moffitt was snoring.




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          95.     Upon information and belief, Mr. Moffitt was not snoring, but was, in fact, stridor

   breathing. Stridor breathing occurs when a person’s air passages are blocked and often sounds

   like loud snoring. Stridor breathing is often a sign of a need for emergent medical attention.

          96.     Defendant Hyde informed Defendant Giordano that Mr. Moffitt “had punched

   himself pretty hard” and that Defendant Hyde “thought he might have knocked himself out.”

          97.     After taking the time to “glove up,” Defendants Giordano, Hyde, and Lambert

   entered the holding cell and began to restrain Mr. Moffitt.

          98.     Defendant Hyde entered the holding cell first. Defendant Hyde pulled Mr. Moffitt

   up so that he sat upright on the floor and again instructed him not to punch himself or he would

   be placed in the restraint chair. Defendant Hyde reported that Mr. Moffitt, who had blood

   coming out of his nose, looked at Defendant Hyde “with a wild-eyed look as if he didn’t

   recognize” him. Mr. Moffitt took a “swing” at Defendant Hyde.

          99.     Defendant Hyde and Defendant Lambert began restraining a struggling Mr.

   Moffitt, who was obviously continuing to have hallucinations as a result of the DTs.

          100.    During the process of restraining Mr. Moffitt, Defendant Giordano, Hyde, and

   Lambert noticed that Mr. Moffitt had stopped breathing. Mr. Moffitt’s hands were yellow/white,

   his lips were dark blue/purple, and “his eyes appeared to be just staring.”

          101.    Defendants Giordano and Hyde began administering cardiopulmonary

   resuscitation (CPR) on Mr. Moffitt.

          102.    At this point, after the Defendants had watched Mr. Moffitt’s health deteriorate

   over the course of three days, Defendant Giordano finally instructed Defendant Lambert to call

   dispatch to request immediate medical attention for Mr. Moffitt.


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            103.   Inexplicably, Defendant Lambert, who could observe Mr. Moffitt’s pale face

   “with a bluish shade” from where she was standing on the phone and who knew of all of the

   symptoms of DTs that Mr. Moffitt had been exhibiting over the past three days, first requested

   “non-emergency” medical assistance. It was only during the course of the call that Defendant

   Lambert changed her request and notified dispatch that “this call was an emergency.”

            104.   When the ambulance crew and firefighters arrived at the Summit County Jail,

   Defendants Giordano and Hyde had been unable to resuscitate Mr. Moffitt. The ambulance crew

   and firefighters took over, and, eventually, transported Mr. Moffitt back to SMC.


   Mr. Moffitt’s Untimely Death Results from Defendants Failure to Provide Him Medical Care


            105.   Once at SMC, Mr. Moffitt was stabilized, and medical staff determined that he

   had experienced cardiac arrest at the Summit County Jail.

            106.   Once stabilized, medical personnel transferred Mr. Moffitt to St. Anthony Central

   Hospital in Lakewood, Colorado. Mr. Moffitt was admitted with a diagnosis of anoxic

   encephalopathy and was placed on life-support.

            107.   Mr. Moffitt remained on life-support, with no improvement, from July 9, 2013

   until July 13, 2013.

            108.   On July 13, 2013, medical personnel at St. Anthony Central Hospital discontinued

   the life-support systems, and Mr. Moffitt died.

            109.   An autopsy revealed that Mr. Moffitt died of “excited delirium” with an unknown

   cause.

            110.   Upon information and belief, the unknown cause was alcohol withdrawal.



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            111.   Had any one of the Defendants initiated a medical intervention during the course

   of Mr. Moffitt’s three-day detention at the Summit County Jail, Mr. Moffitt would be alive

   today.

            112.   Upon information and belief, Defendants were acting pursuant to municipal

   custom, policy, or practice in their actions pertaining to Mr. Moffitt.

            113.   Defendant John Minor, as the Summit County Sheriff, is responsible for training

   and supervising all Summit County deputies, including Defendants, in recognizing and providing

   appropriate medical attention to any person detained in the Summit County Jail. Defendant

   Minor is also responsible for implementing appropriate policies to ensure that all Summit County

   detainees receive appropriate medical care.

            114.   According the Department of Justice’s Bureau of Justice Statistics, approximately

   47% of the nation’s jail detainees are dependent on alcohol and approximately half were under

   the influence of alcohol at the time of their offense.

            115.   Upon information and belief, despite knowledge of these statistics, Defendant

   Minor failed to train Defendants in how to recognize the symptoms of DTs and how to ensure

   that detainees experiencing acute alcohol withdrawal receive prompt, adequate, and life-saving

   medical attention.

            116.   Upon information and believe, Defendant Minor failed to implement any policies

   that would instruct staff at the Summit County Jail on how to treat detainees that exhibit

   symptom of delirium tremens. Upon information and belief, at the time of Mr. Moffitt’s death,

   Summit County had no policies or procedures in place that instructed deputies on how and when

   to initiate a medical intervention on behalf of a detainee experiencing acute alcohol withdrawal.


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          117.      Defendant Minor’s failure to train Defendants and failure to implement

   appropriate policies directly contributed to Mr. Moffitt’s untimely, easily preventable, and

   unjustifiable death.


                                         CLAIMS FOR RELIEF


                                      FIRST CLAIM FOR RELIEF
                                      (§1983 – Fourteenth Amendment
                              Failure to Provide Medical Care and Treatment)
                          (Against All Defendants in their individual capacities and
                                  Defendant Minor in his official capacity)

          118.      Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully set

   forth herein.

          119.      At all times relevant to the allegations in this Complaint, Defendants acted or

   failed to act under color of state law.

          120.      Defendants are persons under 42 U.S.C. § 1983.

          121.      At all times relevant to the allegations in this Complaint, Defendants were acting

   pursuant to municipal custom, policy, or practice in their actions pertaining to Mr. Moffitt.

          122.      At all times relevant to the allegations in this Complaint, Defendants knew or

   should have known of Mr. Moffitt’s potentially life-threatening medical condition.

          123.      Nevertheless, with deliberate indifference to Mr. Moffitt’s constitutional right not

   to be denied necessary medical care, protected by the Due Process Clause of the Fourteenth

   Amendment to the United States Constitution, Defendants failed to examine, treat, and care for

   Mr. Moffitt’s worsening condition and failed to send Mr. Moffitt for treatment. They did so

   despite their knowledge of Mr. Moffitt’s serious medical needs, placing him at risk of substantial

   physical harm.

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          124.     When Mr. Moffitt, and others on his behalf, alerted Defendants to Mr. Moffitt’s

   need for medical assistance, Defendants acted with deliberate indifference to Mr. Moffitt’s

   obviously serious medical need and constitutional rights by failing to obtain and provide medical

   treatment for him in a timely and appropriate fashion.

          125.     The acts or omissions of all Defendants were conducted within the scope of their

   official duties and employment.

          126.     The acts or omissions of all Defendants were the legal and proximate cause of Mr.

   Moffitt’s injuries and death.

          127.     Defendant John Minor’s unconstitutional policies, customs or practices, as

   described herein, were the legal and proximate cause of the Mr. Moffitt’s injuries and death.

          128.     The acts or omissions of each Defendant caused Mr. Moffitt damages in that he

   suffered extreme physical and mental pain during the approximately seventy-two hours, or three

   days, leading up to his death, and ultimately caused Mr. Moffitt’s death.

          129.     The actions or inactions of Defendants as described herein intentionally deprived

   Mr. Moffitt of due process and of rights, privileges, liberties, and immunities secured by the

   Constitution of the United States of America, and caused him other damages.


                                   SECOND CLAIM FOR RELIEF
                       (§1983 – Fourteenth Amendment- Supervisory Liability for
                                     Failure to Train and Supervise)
                                    (Against Defendant Minor in his
                                   official and individual capacities)


          130.     Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set

   forth herein.



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           131.    Defendant Minor has a duty to train and supervise duty sheriffs, staff sergeants,

   captains, and other jail personnel to recognize the symptoms of alcohol withdrawal and initiate

   an appropriate medical intervention for a detainee exhibiting those symptoms.

           132.    Defendant Minor failed to discharge this duty.

           133.    Defendant Minor acted intentionally in failing to adequately train and supervise

   deputy sheriffs, staff sergeants, captains, and other jail personnel.

           134.    Defendant Minor’s failure to properly train and supervise his subordinate

   employees was the moving force and proximate cause of the violation of Mr. Moffitt’s

   constitutional rights.

           135.    The acts or omissions of Defendant Minor caused Mr. Moffitt damages in that he

   suffered extreme physical and mental pain during the approximately seventy-two hours, or three

   days, leading up to his death.

           136.    The actions of Defendant Minor as described herein deprived Mr. Moffitt of the

   rights, privileges, liberties, and immunities secured by the Constitution of the United States of

   America and caused her other damages.


                                        PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in their

   favor and against Defendants, and grant:

           (a)     Appropriate relief at law and equity;

           (b)     Declaratory relief and other appropriate equitable relief;

           (c)     Economic losses on all claims allowed by law;



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          (d)    Compensatory and consequential damages, including damages for emotional

                 distress, humiliation, loss of enjoyment of life, and other pain and suffering on all

                 claims allowed by law in an amount to be determined at trial;

          (e)    Punitive damages on all claims allowed by law and in an amount to be determined

                 at trial;

          (f)    Attorneys’ fees and the costs associated with this action, including expert witness

                 fees, on all claims allowed by law;

          (g)    Pre- and post-judgment interest at the highest lawful rate;

          (h)    Any further relief that this Court deems just and proper, and any other relief as

                 allowed by law.

          PLAINTIFF HEREBY DEMANDS A JURY TRIAL ON ALL ISSUES SO TRIABLE.

          Dated this 12th day of January, 2015.

                                                  KILLMER, LANE & NEWMAN, LLP

                                                  s/David A. Lane________________
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